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 IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

    MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION




UNITED STATES OF AMERICA )
                         )
    v.                   )              CRIMINAL ACTION NO.
                         )               1:08cr236-MHT
WILLIAM CHARLES DUFF     )                    (WO)

                      OPINION AND ORDER

    Following the passage of the Fair Sentencing Act

of 2010, Pub. L. 111-220, and the United States

Sentencing     Commission’s       issuance      of    retroactive

sentencing guidelines for crack cocaine cases, this

court established a Retroactivity Screening Panel to

determine whether a defendant might be eligible for a

reduction of sentence.           Upon consideration of the

recommendation of the Retroactivity Screening Panel

entered this date and after an independent and de novo

review of the record, it is ORDERED that defendant

William Charles Duff is not eligible for a reduction
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in sentence pursuant to the Fair Sentencing Act of

2010.

    DONE, this the 19th day of February, 2013.



                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT
                                 JUDGE
